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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:10CR3101-2
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )          MEMORANDUM
                                             )          AND ORDER
JESSICA MICHELE ROBERTS,                     )
                                             )
                     Defendant.              )


       IT IS ORDERED that:


       (1)    The defendant’s motion to file document under seal (filing 116) is granted.


       (2)    The defendant’s motion to extend time allowed to surrender to the Bureau of
Prisons (filing 117) is granted.


       (3)    The defendant’s commitment date to the Federal Bureau of Prisons is hereby
continued to June 4, 2012, at or before 2:00 p.m. No more continuances of the defendant’s
self-surrender date will be granted.


       (4)    Copies of this memorandum and order shall be provided to counsel of record,
the Probation Office, and the United States Marshal. The United States Marshal shall
provide the Bureau of Prisons with a copy of this memorandum and order.


       (5)    If the Bureau of Prisons selects a different self-surrender date than the one
ordered in paragraph 3 above, the Bureau of Prisons shall not select a date any earlier than
June 4, 2012. And, the United States Marshals Service shall notify the defendant, counsel
of record, and the Probation Office of the new date selected by the Bureau of Prisons.


       Dated March 20, 2012.

                                                 BY THE COURT:

                                                 Richard G. Kopf
                                                 Senior United States District Judge
